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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 KALOMA CARDWELL,

                          Plaintiff,
        v.

 DAVIS POLK & WARDWELL LLP, Thomas         19 Civ. 10256 (GHW)
 Reid, John Bick, William Chudd, Sophia
 Hudson, Harold Birnbaum, Daniel Brass,
 Brian Wolfe, and John Butler,

                          Defendants.



     DEFENDANTS’ REPLY MEMORANDUM OF LAW IN SUPPORT OF THEIR
                  APPLICATION FOR FEES AND COSTS




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                                          Attorneys for Defendants




Dated: January 29, 2021
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               Defendants see no need to burden the Court with further submissions on this

application. Defendants rely entirely on their moving papers and leave to the Court’s discretion

the formulation of an award of fees and costs that is both fair and equitable while also appropriately

addressing plaintiff’s repeated discovery violations.



Dated:         January 29, 2021
               New York, New York



                                       Respectfully submitted,


                                       PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP


                                       By: /s/ Bruce Birenboim
                                          Bruce Birenboim
                                          Jeh C. Johnson
                                          Susanna Buergel
                                          Marissa C.M. Doran

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